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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

PERRY W. FLETCHER,                              )
                                                )
                  Plaintiff,                    )
                                                )
         v.                                     )   1:15-cv-01113-SEB-TAB
                                                )
EMAS, INC.,                                     )
                                                )
                          Defendant.            )


                               ORDER APPROVING SETTLEMENT

         The Court, having reviewed the parties’ Confidential Settlement Agreement and General

Release and being duly advised, finds that the agreement is a fair and reasonable resolution of a

bona fide dispute. The settlement agreement is therefore APPROVED. The parties further are

granted leave to file a Stipulation of Dismissal consistent with the terms of their agreement.




                               Date: 3/7/2016




Copies to all counsel by CM/ECF.




        Distribution: All ECF counsel of record



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